                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION




     UNITED STATES OF AMERICA,                  )       C/R No.: 1:13-cr-52-1
                                                )
                   -vs-                         )              ORDER
                                                )
     CLEAN ON GREEN, PLLC,                      )
                                                )
                          Defendant.            )
                                                )

            And now, this 23rd day of February, 2015, the within Motion is granted, and it is

     hereby ordered and decreed that the Indictment in Criminal Number 1:13-CR-52-1 against

     the Defendant, CLEAN ON GREEN, PLLC, be and the same is hereby dismissed without

     prejudice.

            AND IT IS SO ORDERED.




                                                        David C. Norton
                                                        United States District Judge

     Charleston, South Carolina




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